UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF LOUISIANA

PRESS ROBINSON, ET AL CIVIL ACTION
VERSUS NO: 3:22-CV-00211

R. KYLE ARDOIN, in his official capacity
As Secretary of State of Louisiana

Consolidated with
EDWARD GALMON, ET AL CIVIL ACTION
VERSUS NO: 3:22-CV-00214

R. KYLE ARDOIN, in his official capacity
As Secretary of State of Louisiana

MOTION TO WITHDRAW COUNSEL OF RECORD

NOW INTO COURT, through undersigned counsel, comes Defendant, NANCY

LANDRY, in her official capacity as Secretary of State of Louisiana, who respectfully requests

that CHARLTON J. MEGINLEY (La. Bar Roll No. 28150) be allowed to withdraw as counsel of

record for Defendant in this matter.

Charlton J. Meginley represented the Defendant, and was employed as General Counsel

for R. Kyle Ardoin. He has left his employment with the Secretary of State. The Defendant will

remain represented by the other counsel in this suit. Pursuant to Local Rule 83(b)(13), the

undersigned certifies that Charlton J. Meginley has consented to his withdrawal from these

proceedings.

WHEREFORE, Defendant, NANCY LANDRY, respectfully prays that Charlton J.

Meginley be withdrawn as counsel of record for Defendant in this matter.

Respectfully Submitted:
/s/John C. Walsh

John C. Walsh, La. Bar Roll No. 24903

SHOWS, CALI & WALSH, LLP

628 St. Louis Street (70802)

P.O. Drawer 4425

Baton Rouge, Louisiana 70821

Telephone: (225) 346-1461

Facsimile: (225) 346-1467

Email: john@scwllp.com
coninej@scwllp.com

/s/Phillip J. Strach* (Lead Counsel)
phillip.strach@nelsonmullins.com
Thomas A. Farr*
tom.farr@nelsonmullins.com

John E. Branch, III*
john.branch@nelsonmullins.com
Alyssa M. Riggins*
alyssa.riggins@nelsonmullins.com
Cassie A. Holt*

cassie. holt@nelsonmullins.com
NELSON MULLINS RILEY &
SCARBOROUGH LLLP

301 Hillsborough St., Ste 1400
Raleigh, NC 27603

Telephone: (919) 329-3800
Facsimile: (919) 329-3799
*Admitted pro hac vice

Counsel for Nancy Landry, in her official capacity
As Secretary of State of Louisiana

CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on the 11th day of January, 2024, a copy of the foregoing was
filed electronically with the Clerk of Court using the CM/ECF system, and notice will be sent to
all counsel by operation of the court’s electronic filing system.

s/ John C. Walsh
JOHN C. WALSH

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STATES DISTRICT COURT
MIDDLE DISTRICT OF LOUISIANA
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R. KYLE ARDOIN, in his official capacity
As Secretary of State of Louisiana
ORDER
Considering the foregoing Motion to Withdraw Counsel of Record,
IT IS ORDERED, that Charlton J. Meginley is hereby withdrawn as additional counsel of
record for Defendant in this matter.

Baton Rouge, Louisiana, on this day of , 2024.

JUDGE
UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF LOUISIANA
